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 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                          SACRAMENTO DIVISION
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     WILLIAM WIESE, et al.,                                    2:17-cv-00903-WBS-KJN
13
                                                 Plaintiff, ORDER REGARDING STIPULATION
14                                                          RE: MOTION FOR SUMMARY
                       v.                                   JUDGMENT
15
                                                               Courtroom:      5, 14th Floor
16   XAVIER BECERRA, et al.,                                   Judge:          Hon. William B. Shubb
                                                               Trial Date:     None Set
17                                           Defendants.       Action Filed:   April 28, 2017
18

19         The Court, having reviewed the parties’ stipulation filed on March 31, 2023, finds good

20   cause and hereby orders as follows:

21         1.       Within 30 days of the filing of Plaintiffs’ motion for summary judgment, Defendants

22   shall file an opposition (and potential counter-motion for summary judgment);

23         2.       Plaintiffs’ reply shall be due within 30 days of the filing of Defendants’ opposition to

24   Plaintiffs’ motion for summary judgment; and

25         3.       If Defendants file a counter-motion for summary judgment, Plaintiffs’ opposition

26   shall be filed with their reply in support of their motion for summary judgment, and Defendants’

27   reply in support of their counter-motion for summary judgment shall be due within 21 days

28   thereafter.
                                                           1
                   Order Regarding Stipulation re Motion for Summary Judgment (2:17-cv-00903-WBS-KJN)
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 1        4.      Hearing on Plaintiffs’ motion for summary judgment shall be set for July 10, 2023 at

 2   1:30 p.m.

 3   IT IS SO ORDERED.

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     Dated: April 3, 2023
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                 Order Regarding Stipulation re Motion for Summary Judgment (2:17-cv-00903-WBS-KJN)
